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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                v.                                                  Case # 17-CR-203-FPG-MJR

RICHARD BUTERBAUGH,                                                 DECISION AND ORDER

                       Defendant.


         On June 12, 2018, Defendant Richard Buterbaugh consented to enter a guilty plea before

United States Magistrate Judge Michael J. Roemer. Specifically, Buterbaugh acknowledged that

Judge Roemer explained to him the nature of the offense with which Buterbaugh is charged, the

maximum possible penalties if Buterbaugh is found guilty, Buterbaugh’s right to the assistance of

legal counsel, and his right to a trial, judgment, and sentencing before a United States District

Judge.

         The same day, Buterbaugh appeared before Judge Roemer and entered a plea of guilty to

Count 1 of the Indictment.       Judge Roemer made an oral Report and Recommendation

immediately after the plea proceeding, ECF No. 52, and filed a written Report and

Recommendation, ECF No. 54, confirming that Buterbaugh’s guilty plea met the requirements of

Fed. R. Crim. P. 11, and recommended that this Court accept the guilty plea. No objections to

the Report and Recommendation were timely filed, and no extension of time to file objections was

sought. Pursuant to 28 U.S.C. § 636(b), Judge Roemer’s Report and Recommendation, ECF No.

54, is adopted in its entirety, the Court hereby accepts Buterbaugh’s plea of guilty, and Defendant

is hereby adjudged guilty of violating 21 U.S.C. § 846.




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     IT IS SO ORDERED.

DATED:    June 29, 2018
          Buffalo, New York


                                  ______________________________
                                  HON. FRANK P. GERACI, JR.
                                  Chief Judge
                                  United States District Judge




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